                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE

*************************************
LIBERTARIAN PARTY OF                     *
NEW HAMPSHIRE, et al                     *
                                         *
                 Plaintiffs,             *
        v.                               *           Civil No. 1:20-cv-00688-JL
                                         *
GOVERNOR CHRISTOPHER T.                  *
SUNUNU, Governor of the State of         *
New Hampshire, in his official capacity, *
                                         *
        and                              *
                                         *
WILLIAM M. GARDNER, Secretary of         *
State of the State of New Hampshire,     *
in his official capacity,                *
                                         *
                 Defendants.             *
                                         *
*************************************


   OBJECTION TO PLAINTIFFS’ EMERGENCY VERIFIED MOTION FOR
  TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       NOW COMES Governor Christopher T. Sununu, in his official capacity as

Governor of the State of New Hampshire (“Governor”) and William M. Gardner, in his

official capacity as Secretary of State for the State of New Hampshire (“Secretary of

State”) (collectively “State”), by and through their counsel, the New Hampshire Office of

the Attorney General, and respectfully object to the plaintiffs’ motion for temporary

restraining order and preliminary injunction, and state as follows:

       1.      The plaintiffs contend that New Hampshire’s ballot access statutes, RSA

655:40 and RSA 655:42, as applied to the Libertarian Party of New Hampshire



                                            -1-
(“LPNH”) and its candidates during the 2020 General Election, violate their First

Amendment rights by imposing a severe burden on their access to the ballot.

Specifically, the plaintiffs contend that the COVID-19 pandemic has made and continues

to make it impossible for them to obtain the signatures necessary to get on the ballot for

the September 8, 2020 primary election. The plaintiffs seek a preliminary injunction

from this Court ordering the State to include their candidates on the ballot.

       2.         The plaintiffs cannot establish the elements necessary to entitle them to a

preliminary injunction. They have no likelihood of success on the merits of this action,

they face no risk of immediate and irreparable harm – at least none other than of their

own causing, and the public interest favors an uncluttered ballot and enforcement of the

requirement that parties seeking ballot access as candidates demonstrate a modicum of

public support.

       3.         The State contemporaneously submits a memorandum of law presenting a

detailed factual background and argument in support of this objection, which the State

incorporates by reference herein.



       WHEREFORE, the State respectfully requests that this Court:

                  A.     Deny the motion for preliminary injunction; and

                  B.     Grant such further and other relief as this Court deems just,
                         equitable and proper.




                                              -2-
                Respectfully submitted,

                CHRISTOPHER T. SUNUNU,
                GOVERNOR OF THE STATE OF NEW
                HAMPSHIRE

                and

                WILLIAM GARDNER,
                NEW HAMPSHIRE SECRETARY OF
                STATE


                By their attorneys,

                GORDON J. MACDONALD
                ATTORNEY GENERAL


July 2, 2020    /s/ Daniel E. Will
                Daniel E. Will, Bar #12176
                Solicitor General

                /s/Laura E. Lombardi
                Laura E. Lombardi, Bar #12821
                Senior Assistant Attorney General

                /s/Sean R. Locke
                Sean R. Locke, Bar #265290
                Assistant Attorney General

                New Hampshire Department of Justice
                Office of the Attorney General
                33 Capitol Street, Concord, NH 03301-6397
                (603) 271-3650




               -3-
                              CERTIFICATE OF SERVICE

        I, Daniel E. Will, hereby certify that a copy of this objection to plaintiffs’

emergency verified motion for temporary restraining order and preliminary injunction

was sent via the court’s e-filing system to H. Jonathan Meyer, Esquire, counsel for the

Plaintiffs.


July 2, 2020                                   /s/ Daniel E. Will
                                               Daniel E. Will




                                             -4-
